                                                                                 Judge: Timothy W. Dore
 1                                                                                           Chapter: 13
                                                                                                Ex Parte
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 6
                            UNITED STATES BANKRUPTCY COURT
 7                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
     IN RE:
 8                                                              Case No. 21-10025-TWD
     JOAN RAIDER RAWLINGS,
 9                                                              Chapter: 13
                                    Debtors.
10
                                                            DEBTOR’S EX PARTE MOTION FOR
11                                                          AN ORDER APPROVING
                                                            COMPROMISE OF CLAIM
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              COMES NOW, the Debtor Joan Raider Rawlings (“Debtor”), moves this Court for an
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     Order Shortening Time on the Debtor’s Motion for an Order Approving Compromise of Claim.
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              Debtor is seeking court approval of a settlement of the lawsuit in King County Superior
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     Court of Washington bearing Case No. 21-2-16957-7 SEA with defendants Nationstar
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18   Mortgage LLC d/b/a Mr. Cooper (Mr. Cooper), U.S. Bank National Association, as Trustee

19   for Master Adjustable-Rate Mortgages Trust 2007-2 Mortgage Pass-Through Certificates,
20   Series 2007-2 (U.S. Bank) concerning claims regarding the mortgage loan and foreclosure of
21
     her home located at 4534 NE 204th Pl, Lake Forest Park, WA 98155 (“Residence”). As
22
     approval of this settlement is necessary to allow the reverse mortgage to go forward as put
23
     forth in a separate motion, this also needs to be brought on shortened time. The reverse
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25   mortgage lender has Lender indicated that they will obtain an order by July 15th, 2022 to allow

26   an orderly closing prior to July 31st as the issues in this reverse mortgage require additional

27   EX PARTE MOTION TO APPROVE                                 HENRY & DeGraaff, PS
     COMPROMISE OF CLAIM TO                                    113 Cherry St, PMB 58364
     SHORTEN TIME- 1                                                Seattle, WA 98104
                                                           V (206) 330-0595 / F (206) 400-7609
      Case 22-10025-TWD           Doc 52       Filed 07/11/22     Ent. 07/11/22 09:28:28         Pg. 1 of 3
     complexity.
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 2         1.      Exigent Circumstances: Because Judge Dore’s next hearing date that provides

 3   for sufficient notice to creditors pursuant to Local Rules W.D. Wash. Bankr 9013-1 is not

 4   until July 15, 2022 on the Chapter 7 docket or Debtor runs the risk of not completing the
 5   reverse mortgage in time to approve the settlement agreement if the motion for shortened time
 6
     is not granted. See Dkt No. 47-1, Declaration in support of Motion on shortened time or the
 7
     Reverse Mortgage which is incorporated by reference as if fully contained herein.
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           2.      Attorney Certification: The undersigned hereby certifies that the following efforts
 9

10   were made to communicate with the Chapter 13 Trustee: copies of the motion to allow this

11   reverse mortgage and this motion to shorten time, and related documents were emailed to

12   courtmail@seattlech13.com on July 11, 2022.
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           3.      Counsel will include a copy of the Order Shortening Time with the Notice of
14
     Hearing on Debtor’s Motion to Approve Compromise of Claim will be sent to all creditors.
15
           WHEREFORE, Debtors request for an Order to Shorten Time for their Motion to
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     Approve Reverse Mortgage and that the hearing be set for July 15, 2022 at 9:30 am with a
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18   Response date of July 14, 2022.

19         Dated this July 11, 2022.
20
                                                        /s/ Christina L Henry
21                                                    Christina L Henry, WSBA# 31273
                                                      Henry & DeGraaff, PS
22                                                    113 Cherry St, PMB 58364
                                                      Seattle, WA 98104-2205
23                                                    Tel# 206-330-0595
                                                      chenry@hdm-legal.com
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27   EX PARTE MOTION TO APPROVE                               HENRY & DeGraaff, PS
     COMPROMISE OF CLAIM TO                                  113 Cherry St, PMB 58364
     SHORTEN TIME- 2                                              Seattle, WA 98104
                                                         V (206) 330-0595 / F (206) 400-7609
     Case 22-10025-TWD          Doc 52    Filed 07/11/22     Ent. 07/11/22 09:28:28            Pg. 2 of 3
                          DECLARATION OF CHRISTINA L HENRY
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 2        I, Christina L Henry, declare as follows:

 3        4.      I am the Chapter 13 bankruptcy attorney for the debtor Joan Raider Rawlings

 4   and I have personal knowledge of the information in this declaration.
 5        5.      I emailed the entire packet for this motion, supporting declarations and request
 6
     to shorten time to Chapter 13 Trustee at courtmail@seattlech13.com on July 11. 2022.
 7
          I declare under penalty of perjury under the laws of the State of Washington that the
 8
          foregoing is true and correct to the best of my knowledge.
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10                Executed this 11th day of July 2022 at Seattle, WA.

11                                              _/s/ Christina L Henry____________
                                                Christina L Henry, WSBA# 31273
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27   EX PARTE MOTION TO APPROVE                             HENRY & DeGraaff, PS
     COMPROMISE OF CLAIM TO                                113 Cherry St, PMB 58364
     SHORTEN TIME- 3                                            Seattle, WA 98104
                                                       V (206) 330-0595 / F (206) 400-7609
     Case 22-10025-TWD         Doc 52    Filed 07/11/22     Ent. 07/11/22 09:28:28           Pg. 3 of 3
